                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                                         12-CR-2024-LRR
 vs.                                                                      ORDER
 APRIL TILLMAN,
                 Defendant.


                                    TABLE OF CONTENTS
I.      INTRODUCTION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
II.     RELEVANT PROCEDURAL HISTORY. . . . . . . . . . . . . . . . . . . . . . . . . 1
III.    RELEVANT FACTUAL BACKGROUND. . . . . . . . . . . . . . . . . . . . . . . . 2
IV.     MOTION FOR NEW TRIAL. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
        A.     Legal Standard. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
        B.     Analysis.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
               1.    Sufficiency of the evidence. . . . . . . . . . . . . . . . . . . . . . . . . 4
               2.    Buyer/Seller jury instruction. . . . . . . . . . . . . . . . . . . . . . . . 5
V.      CONCLUSION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
                                       I. INTRODUCTION
        The matter before the court is Defendant April Tillman’s “Motion for New Trial”
(“Motion”) (docket no. 482).
                        II. RELEVANT PROCEDURAL HISTORY
        On August 22, 2012, the Grand Jury returned a twelve-count Indictment (docket no.
15) charging Defendant and thirteen other individuals1 with a number of crimes.


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        The other individuals charged were: Lusta Johnson, Catherine Johnson, Dominick
Watts, Conny Miles, Leroy Baylor, Bryant Olive, Antoine Williams, Barbara Brooks,
Raydell Talbert, Frank Nelson, Fred Olive, Mavia Walker and Veronica Kelly.


      Case 6:12-cr-02024-CJW-MAR             Document 490          Filed 08/26/13       Page 1 of 7
       Count 1 of the Indictment charged Defendant with conspiracy to distribute one
kilogram or more of a mixture or substance containing a detectable amount of heroin, a
Schedule I controlled substance, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and
846. On July 15, 2013, the government relied on a previous conviction for a felony drug
offense and filed a Notice of Intent to Seek Enhanced Penalties (docket no. 449) pursuant
to 21 U.S.C. § 851. Defendant was tried on Count 1 of the Indictment on July 22, 2013
and subsequently convicted on July 24, 2013. See Jury Verdict (docket no. 470).
       On August 7, 2013, Defendant filed the Motion, which requests that the court grant
a new trial on the grounds that the verdict is against the weight of the evidence and that the
court failed to give a buyer/seller jury instruction. On August 12, 2013, the government
filed a Resistance (docket no. 483). The matter is fully submitted and ready for decision.
                     III. RELEVANT FACTUAL BACKGROUND
       The trial evidence established that the government began investigating heroin
distribution in the Waterloo area in 2010.        After a series of controlled buys, the
government executed a search warrant in February of 2011, and the government arrested
several top-level dealers.     Following those arrests, the government continued its
investigation and made another series of arrests in late 2011. After the arrests in late
2011, the government continued its investigation, and it began investigating Defendant.
       Pursuant to this investigation, the government discovered that Defendant regularly
used heroin, and, to support her heroin habit, Defendant began distributing heroin. The
government presented several witnesses who testified to purchasing heroin directly from
Defendant.2 Other government witnesses testified that Defendant delivered heroin that
other co-conspirators ordered and accompanied Catherine Johnson to Chicago to obtain



       2
       These witnesses include: VonVetta Sawyers, Lewis Bolden, Catherine Johnson,
Veronica Kelly, Joey Butikofer, Archie Burns, Frank Nelson, Leeann Rooff, Barbara
Brooks and Conni Esch.

                                              2


   Case 6:12-cr-02024-CJW-MAR           Document 490       Filed 08/26/13     Page 2 of 7
heroin. Witnesses further testified that Defendant delivered heroin for Catherine Johnson,
ran the heroin traffic at Catherine Johnson’s home and repackaged the heroin obtained
from Chicago in Waterloo. Witnesses also testified that Defendant assisted “Jello” with
selling heroin outside the apartment of Defendant’s daughter. Finally, witnesses testified
that Defendant drove “Jello” to drug transactions. In total, the government presented
testimony from nineteen separate witnesses.        Defendant cross-examined all of the
government’s witnesses.
       The government also presented evidence of Defendant’s phone records, which
showed phone calls that Defendant made to other co-conspirators and corroborated the
testimony of the government’s witnesses.
                           IV. MOTION FOR NEW TRIAL
                                   A. Legal Standard
       Federal Rule of Criminal Procedure 33 provides that, “[u]pon the defendant’s
motion, the court may vacate any judgment and grant a new trial if the interest of justice
so requires.” Fed. R. Crim. P. 33(a). A district court is granted broad discretion in
considering a motion for a new trial. United States v. Peters, 462 F.3d 953, 957 (8th Cir.
2006). A district court may “weigh the evidence, disbelieve witnesses, and grant a new
trial even where there is substantial evidence to sustain the verdict.” United States v.
Campos, 306 F.3d 577, 579 (8th Cir. 2002) (quoting White v. Pence, 961 F.2d 776, 780
(8th Cir. 1992)) (internal quotation marks omitted). However, district courts “must
exercise the Rule 33 authority ‘sparingly and with caution.’” Id. (quoting United States
v. Lincoln, 630 F.2d 1313, 1319 (8th Cir. 1980)). Further, the court “should grant a new
trial only if ‘the evidence weighs heavily enough against the verdict that a miscarriage of
justice may have occurred.’” Peters, 462 F.3d at 957 (quoting United States v. Rodriguez,
812 F.2d 414, 417 (8th Cir. 1987)).
                                       B. Analysis


                                            3


   Case 6:12-cr-02024-CJW-MAR          Document 490      Filed 08/26/13    Page 3 of 7
       Defendant argues that she is entitled to a new trial because the government failed
to present sufficient evidence to support a guilty verdict and because the court did not give
a buyer/seller jury instruction. The court will address these arguments in turn.
       1.     Sufficiency of the evidence
       Defendant first argues that she should be granted a new trial because “the verdict
is against the weight of the evidence.” See Brief in Support of the Motion at 1 (docket no.
482-1) (emphasis omitted). In support of this argument, Defendant contends that the
government lacked sufficient physical evidence implicating Defendant in the conspiracy
and that the government’s witnesses were not credible.
       “Motions for new trials based on the weight of the evidence are generally
disfavored.” United States v. Samuels, 543 F.3d 1013, 1019 (8th Cir. 2008) (quoting
Campos, 306 F.3d at 579). In determining whether the evidence is sufficient to support
a jury verdict, the court looks to the evidence that was actually presented rather than
looking to evidence that the government did not introduce. Id. at 1020. Furthermore,
“questions concerning the credibility of witnesses, where their testimony is not incredible
on its face, are for the jury to decide.” Id. at 1019.
        The court finds that the alleged lack of physical evidence does not suggest that a
miscarriage of justice may have occurred. The government presented testimony from
nineteen witnesses. The government also presented phone records which corroborated the
witnesses’ testimony. Numerous witnesses testified that, in her capacity as Catherine
Johnson’s “right-hand man,” Defendant delivered heroin to users outside Catherine
Johnson’s home. Witnesses also testified that Defendant accompanied Catherine Johnson
to Chicago for the purpose of obtaining and subsequently selling heroin. Witnesses further
testified that Defendant drove “Jello” to drug transactions. The phone records that the
government presented corroborated the witnesses’ testimony. The jury had the opportunity
to consider all of the evidence presented, and it found the evidence sufficient to support


                                             4


   Case 6:12-cr-02024-CJW-MAR           Document 490      Filed 08/26/13     Page 4 of 7
a guilty verdict. Because the court finds that the testimony of the government’s witnesses
was not incredible on its face, the credibility of the witnesses was for the jury to decide.
Defendant took the opportunity to cross-examine the government’s witnesses, and,
accordingly, the jury had the opportunity to consider witness bias and inconsistent
testimony. In light of the testimony of the government’s witnesses and the physical
evidence presented which implicated Defendant in a conspiracy to distribute heroin, the
court finds that the evidence was sufficient to support the jury’s guilty verdict. Therefore
Defendant is not entitled to a new trial because of insufficient evidence.
       2.       Buyer/Seller jury instruction
       Defendant next argues that, because the court did not instruct the jury that “a mere
buyer/seller relationship is not sufficient to prove a conspiracy,” she is entitled to a new
trial. Brief in Support of the Motion. As a prong to the buyer/seller argument, Defendant
contends that she was entitled to the buyer/seller instruction because the jury was
instructed that a conspiracy may involve people with whom Defendant had a more limited
relationship.
       “Defendants are entitled to a theory of defense instruction if it is timely requested,
is supported by the evidence, and is a correct statement of the law . . . .” United States
v. Whitehill, 532 F.3d 746, 752 (8th Cir. 2008). After such a request, jury instructions
are sufficient if they “adequately and correctly cover[] the substance of the requested
instruction.” Id. (quoting United States v. Rederth, 872 F.2d 255, 258 (8th Cir. 1989)).
When a defendant requests a buyer/seller instruction, a district court may properly exclude
the instruction if “there is evidence of multiple drug transactions, as opposed to a single,
isolated sale.” United States v. Johnson, 719 F.3d 660, 671 (8th Cir. 2013) (quoting
United States v. Hester, 140 F.3d 753, 757 (8th Cir. 1998)) (internal quotation mark
omitted). Further, when a defendant’s theory of defense is that the defendant was not a
knowing member of a conspiracy, it is appropriate to give the following jury instruction


                                                5


   Case 6:12-cr-02024-CJW-MAR           Document 490      Filed 08/26/13     Page 5 of 7
in lieu of a buyer/seller instruction:
              You should understand that merely being present at the scene
              of an event, or merely acting in the same way as others or
              merely associating with others, does not prove that a person
              has joined in an agreement or understanding. A person who
              has no knowledge of a conspiracy but who happens to act in
              a way which advances some purpose of one, does not thereby
              become a member.
Hester, 140 F.3d at 757. This instruction was used verbatim in the instant case. See Final
Jury Instructions, Instruction No. 15 (docket no. 468). Furthermore, several witnesses
testified to the fact that Defendant engaged in multiple drug transactions, rather than a
single, isolated sale. Regardless of with whom the jury found Defendant conspired, the
government presented ample evidence of multiple heroin transactions.              In closing
arguments, defense counsel argued that Defendant was a mere user; the jury disagreed.
Because the jury instructions given were sufficient to allow Defendant to present her
defense, Defendant is not entitled to a new trial as a result of the court’s failure to give a
buyer/seller jury instruction.
                                    V. CONCLUSION
       In light of the foregoing, the Motion for New Trial (docket no. 482) is
       DENIED.
       IT IS SO ORDERED.
       DATED this 22nd day of August, 2013.




                                              6


   Case 6:12-cr-02024-CJW-MAR            Document 490      Filed 08/26/13     Page 6 of 7
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Case 6:12-cr-02024-CJW-MAR   Document 490   Filed 08/26/13   Page 7 of 7
